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                         UNITED STATES DISTRICT CO URT
                         SO UTHERN DISTRICT OF FLORIDA

                         CASE NO . 13-21653-ClV-W lLLlA MS

M ICHAEL 1. GOLDBERG , not individually but as
Chapter 11 Trustee of the estate of the Debtor,
Rothstein RosenfeldtAdler,P.A .,etaI.,

      Plaintiffs,

V.

NATIO NAL     UNION    FIRE    INSURANCE
CO M PANY O F PIU SBURGH ,PA.,efa/.,

      Defendants.
                                                  /

                                        O RDER

      THIS M ATTER is before the Courton motions to dism iss Plaintiffs'firstamended

complaint (DE 18, hereinafter the ''FAC'
                                       ') filed by Defendants NationalUnion Fire
lnsurance Company ofPittsburgh,PA (''NationalUnion'
                                                  ')and Twin City Fire Insurance
Company (''Twin City'';with NationalUnion,the ''lnsurers'') (DE 25,28). Plaintiffs,
M ichael Goldberg, as Chapter        Trustee of the estate of the Debtor, Rothstein

RosenfeldtAdler,P.A.,etaI.('RRA Trustee''
                                        ),and RobertC.Furr,as Chapter7 Trustee
ofthe estates ofBanyon 1030-32,LLC,and Banyon Income Fund,LP,etaI.(''Banyon
Trustee'')(collectively,''Plaintiffsn),responded in opposition to the motions to dism iss,
(DE 35,36),and the Insurers replied (DE 42,43). Following argument,the Coud
permitted the parties to file a supplementto the motion and opposition (DE 70). On
April13,2015,the padiesfiledtheirsupplementalbriefing (DE 74,75,78).




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1.     BACKG RO UND

       This case is yetanother in the ongoing Iitigation saga concerning the m isdeeds

ofthe Rothstein RosenfeldtAdlerfirm . No party com es to the Iitigation as a strangerto

the facts:each has litigated disputes spawned by Rothstein in federaldistrict, federal

bankruptcy,and state couds.The facts relevantto the instantdispute are recited below .

       Gibraltar Private Bank & TrustCom pany ('Gibraltar'')and cedain of its officers
and directors (the $'D&O Defendants'
                                   ')have been sued in numerous lawsuits. The suits
pedinentto this action are (1) Edward J.Morse,etaI.?.Scoff> Rothstein,etaI.,
Case No.10-24110 (the 'Morse Actionnl;and (2)HerbertStettin e.John Harris:Charles
Sanders,and Lisa Ellis,Adv.Case No.11-03021-RBR (the 'Underlying D&O Action'')
(together,with the Morse Action,the uunderlying Litigation''l.l
       G ibraltar obtained executive and organization Iiability insurance for its directors

and officers underpolicies issued by NationalUnion and Twin City (FAC :126). The
Insurers each received notice ofthe M orse Action through a June 29,2010 Ietterfrom
Aon, the insurance broker(FAC !!40).2



1 G ibraltar and its officers were also sued in Broward County Circuit Coud in Razorback
Funding, LLC,etaI. v.Scott > Rothstein,et aI.,Case No.09-062943(19) (the 'Razorback
Action'')(FAC 1141).lnopposing the motions to dismiss,Plaintiffs contend thatt
                                                                             'having denied
coverage for aII of the claim s asseded by the Banyon Trustee,the M orse Action, and the
Razorback plaintiffs,NationalUnion m ustalso dem onstrate the unam biguous application ofthe
Exclusion to the all
                   egations in each ofthese matters.'' (DE 36 at18.) However,Plaintiffs'
breach ofcontractclaim s allege only thatthe Insurers breached with respectto the Underlying
Litigation (see DE 18 atI11182,83,89,92)'
                                        ,the Coud willnotconsiderclaimsnotplead in the
com plaint.
2 The Insurers had no obligations to provide coverage for the originalcom plaint in the M orse
Action,filed on June 8,2010,which only asseded claim s against Gibraltar. ln the operative
com plaintin the instantaction,Plaintiffs allege that: i'G ibraltarhas also been sued in the Circui
                                                                                                  t
Coud ofthe 17th JudicialCircuitin and forBroward County. In thatcase,captioned Edward J.
Morse,etaI.v.ScottRothstein etaI.,Case No.10-24110 (the tMorse Action'),the amended
com plaint asserted claim s against G ibraltar for aiding and abetting breach of fiduciary duty,
aiding and abetting com m on law fraud,negligence, and negli   gent supervision. The am ended
                                                2
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       Subsequently,in a Novem ber 22, 2011 Ietter,the RRA Trustee provided the

Insurersw ith a draftadversary com plaintforthe Underlying D&O Action, w hich asserted

claims againstGibraltarexecutives Harris,Sanders,Ellis,and Hayworth (FAC % 42). ln
that Ietter,and priorto filing suit,the RRA Trustee communicated a $40 million joint
settlem ent dem and on behalf of the RRA Trustee and M orse and gave the Insurers

thidydaysto consentto the settlementbytendering theirrespective policy Iim its (FAC !!
43). Attached to the November22,2011 letterwere severaldocuments,including: (1)
documentation detailing the damages thatwould be soughtattrial;(2)a Powerpoint
delineating Iegaland factualsuppod forthe policy Iim i
                                                     ts demand'
                                                              ,(3) copies ofcivil
rem edy notices of insurer violations against the Insurers subm itted to Florida's

DepadmentofFinancialServices;and (4)a proposed modelbarorderthatwould be
sought on behalf of Gibral
                         tar and its directors and officers as part of the proposed

settlement(FAC !(44). The $40 million demand consisted of$5 million from Gibraltar,
$1O million in remaining lim its from an E&O policytower,3and the combined $25 million

Iimits from National Union and Twin City (FAC at 10, n.3). Seven days later, on
com plaintin the M orse Action also asseded claims againstHarris,Sanders,Ellis,and Haywodh
individually,for negligence. NationalUnion and Tw in City received notice ofthe M orse Action
by way ofletterfrom Aon dated June 29,2010.'' (FAC !(40). Although Plaintiffs clearly
indicated the draftnature ofa complaintin otherinstances,i.e.,the D&O Action,(see FAC !1
42),the Plaintiffsdid notdo sowhen referringtothe amended MorseAction. Thus,itwas not
untilthe Coud requested the underlying com plaints - which constitute the basis of Plaintiffs'
claim s - that it becam e apparent that no such am ended com plaintw as ever filed. W hile the
draftM orse Com plaintundoubtedly constitutes a Claim underthe Policies,the Courtis puzzled
by paragraph 40 ofthe FAC w hich seem s to suggestthatthe am ended M orse com plaintwas in
factfiled. In addition,Plaintiffs failed to inform the Courtthatitwas notuntilAugust22,2011,at
the earliest,thatan amended com plaint(in draftform at)asseding claims againstthe directors
and officers was provided to the lnsurers. ltshould be noted thatjustthree months Iater,the
RRA Trustee, Gibraltar, and M orse presented the Insurers w ith a com prehensive settlement
demand forboth the underlying D&O Action and the never-filed am ended Morse com plaint.
3The FAC indicates thatthe $10 million ofthe E&O towerIim i
                                                          ts to be contributed toward the
globalsettlem entconstituted the 'trem aining''Iim its. The pleadings are devoid ofany inform ation
regarding w hetherthe E&O insurers had been defending the M orse Action,whetherthe Iim i      ts of
those policies had been eroded,orwhatthe totalIim its ofthe E&O policy towerwere.
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Novem ber29,2O11,the RRA Trustee filed the Underlying D&O Action against Harris,

Sanders,and Ellis,seeking dam ages ''
                                    farin excess ofallapplicable insurance.'(FAC %

46.)
       O n Decem ber16,2011,NationalUnion denied coverage forthe Underlying D&O

Action (FAC $ 49). Gibraltar and the D&O Defendants renewed their requestthat
NationalUnion tenderits Iim itstoward the jointsettlement,buton December21,2011,
NationalUnion reiterated its denial(FAC 15 50-51). On January 18,2012,National
Union again denied coverage and two days Iater,Twin City also denied coverage (FAC
1152). Following the Insurers'denials,the RRA Trustee,Morse,Gibraltar,and the D&O
Defendants ''began to conduct arm s-length settlem ent negotiations'' and exchanged

docum ents,repods,and evidence in suppod oftheirtheories ofIiability,dam ages,and

defenses (FAC 11 53).4 Two weeks later, the parties reached a putative global
settlementagreement,concluding thata settlementof$50 million - $10 million more
than the originaldem and - was reasonable with respectto the claim s asseded in the

Underlying Litigation (FAC % 54).
       O n February 3,2012,the RRA Trustee,M orse,and the Banyon Trustee,sent

Ietters to the Insurers providing them with an opportunity to consent to the global

settlem ent- which now included aI1claim s thatcould be broughtby the Banyon Trustee
-
    by tendering their policy Iimits (FAC 11 55). The RRA Trustee explained his
disagreement with the lnsurers'denials of coverage, an estim ation of the exposure

faced bythe D&O Defendants in the suits brought(orthreatened to be brought)against

4The tim eline ofevents is unclear. Pl
                                     aintiffsassed that'
                                                       llin)Iightofthese coverage denials ...
(the RRA Trustee,Morse,Gibraltar,and the D&O Defendants)began to conductarms-length
settlementnegotiations.''(FAC !!53). However,the padies had undoubtedlyengagedinsome
mannerofdiscussionpriortothedenialsasevidenced bythe previous$40 millionjointdemand.
                                             4
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them,and the agreementofthe E&O insurance carriersto contribute $10 milliontoward
the globalsettlement (FAC $ 55). Counselforthe RRA Trustee also provided the
Insurers w ith a draft settlem ent and assignm ent agreem entthat reflected the padies'

intention to permitentry ofjudgmentagainstGibraltarand the D&O Defendants in the
amountof$50 m illion i
                     fthe Insurers refused to tendertheirIimits and consentto the
globalsettlement(FAC % 56).
       On February 10,2012,the Insurers rejected the settlementdemand outlined in
the February3,2012 letter(FAC !(59). Sixdays Iater,on February 16,2012,Gibraltar,
the D&O Defendants, the RRA Trustee, and the Banyon Trustee entered into a

settlem entand assignm entagreementand filed m otions seeking the bankruptcy coud's

approvalofthe agreement(FAC $ 61). The agreementincluded a barorderforeclosing
the prosecution ofany otherRothstein-related claims againstG ibraltarorits executives

(FAc :162).5
       ln August,2012,the Trustees entered into separate written agreements with (1)
Gibraltar'
         ,(2)the D&O Defendants;(3)Morse;and (4)the Razorback Plaintiffs (FAC !1
68). The padies agreed thata reasonable jury could find the D&O Defendants jointly
and severally Iiable in the Underlying D&O Action and thatthe resulting dam ages would

likely be in excess of$50 million (FAC 1169). Pursuantto the settlement,''Gibraltar




5 subsequently, the RRA Trustee filed an adversary com plaintseeking a tem porary restraining
orderto enjoin prosecution ofthe Razorback Action pending in Broward County CircuitCourt
(FAC % 62). The bankruptcy coud denied the temporary restraining order. Gibral
                                                                             tarand the
D&O Defendantsthen entered into a settlementagreementwith the Razorback plainti
                                                                              ffsfor$10
million(FAC IN 64-65).
                                             5
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agreed to the entry ofjudgmentagainstitin the BankAction6and the D&O Defendants,
jointly and severally,in the D&O Action in the sum of $50 million,and to allow the
Trustees to collecton thatjudgmentfrom the NationalUnion and Twin City.' (FAC !1
69.) As pad ofthatagreement(hereinafter,the 'Coblentz Agreementn),Gibral
                                                                       tarand
the D&O Defendants,pursuantto Florida Statute j 624.155,assigned theirrights under
the NationalUnion and Twin City policiesto the Plainti
                                                     ffs(FAC 1170).
       On August 30,2012,the Trustees,M orse and the Razorback Plaintiffs,sentthe

Insurers yetanotherIetteroffering to settle theirrespective claim s againstGibral
                                                                                tarand

the D&O Defendantsifthe lnsurerswould tendertheirpolicy Iim its(FAC :172). lncluded
with thatIetterwas:(1)the Trustees'amended motion to approve the settlementwith
Gibraltarand certain ofits officers and directors'
                                                 ,(2)the proposed entry ofbarorders'
                                                                                   ,
(3)the settlementand assignmentagreementbetween Morse and the Trustees'
                                                                      ,and (4)
the settlementagreementbetween the Trustees and the Razorback Plaintiffs (FAC !1
72). A hearing on the motion to approve the settlementwas setforOctober2,2012,
                                                                             .
accordingly,the Trustees inform ed the Insurers thatthey had untilOctober 1,2012 to

consentto the settlementand tendertheirIimits (FAC !173). The Trustees warned
National Union and Twin City that they intended to pursue aII rights and rem edies

againstthe Insurers should the Insurers refuse to consentto the settlement(FAC $ 73).
The Insurersdid notagree totendertheirpolicy Iim its (FAC !174).
       Ultim ately, the bankruptcy court approved the settlement and assignm ent

agreements and entered judgmentagainstGibraltarin the BankAction and againstthe


6Thesettlementalso providedfortheentryofjudgmentagainstGibraltarinan adversaryaction
captioned Herbed Stettin v. GibraltarPrivate Bank & Trust.Co.,Adv.Case No.10-03767-R8R
(the 'dBankAction'').
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D&O Defendants in the Underlying D&O Action in the amountof$50 million (FAC 1175).
Follow ing the bankruptcy coud's approval, the RRA Trustee dism issed the Underlying

D&O Action (FAC % 76). Plaintiffs then filed the instant action,asserting breach of
contractand bad faith claims againstNationalUnion and Twin City.;

ll.      THE INSURANCE POLICIES

         G ibraltar obtained executive and organization liability insurance policies from

NationalUnion and Twin City. The Nati
                                    onalUnion Policy (No.01-232-51-05) is the
primary policy and the Twin City Posicy (No.00 DA 0259335-09)is an excess policy that
follows form to the NationalUnion Policy (FAC !N 26,37)(collectively,the 'dpolicies'').
The Policies were issued to Gibraltar in Florida for the policy period Septem ber 17,

2009 to September 17,2015 (FAC IN 26-36).8 Gibraltar's directors and officers are
lnsureds underthe Policies (FAC !135,DE 18-1 at 1,4),which provide coverage for
''Claim s firstm ade againstan Insured during the Policy Period orthe Discovery Period .

  .   and repoded to the Insurer''in accordance with the policy terms (DE 18-1 at7).9
Specifically, the Policies provide that the Insurer 'shallpay the Loss of any Insured

Person arising from a Claim m ade againstsuch Insured Person forany W rongfulActof

such Insured Person, except when and to the extent that an O rganization has

indemnified such an Insured Person.''(DE 18-1at7).



7The parties agreed thatthe bad fai
                                  th claim s againstthe lnsurers were premature (see DE 35
at18)andtheCourtabated thoseclaims(DE 70).Plaintiffsand DefendantAonalsofiledajoint
m otion to abate Plainti
                       ffs'claim s againstAon pending 'a determ ination ofwhetherthe coverage
existsunderthe NationalUnion and Twin Citypolicies,''(DE 47),which the Coud granted (DE
55).
BThe NationalUnion Policy has a $10 million lim i
                                                tofliability and the Twin City Policy has a $15
m illion Iim itofIiability.
9capi   talized terms are defined terms in the Policies.
                                                  7
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       The Policies define a Claim as:

             (1)A written demand formoney,non-monetary,orinjunctive
                 relief;
             (2)a civil,crim inal,administrative, regulatory or arbitration
                proceeding for monetary, non-monetary, or injunctive
                reliefwhich is commenced by (i)service ofa complaintof
                 sim ilarpleading ...;
             (3)a civil,criminal,adm inistrative,orregulatory investigation
                 ofan Insured Person ...

(DE 18-1 at8).
       The Policies also contain the following 'ProfessionalServices Exclusionn'
                                                                               .

             The Insurershallnotbe Iiable to make any paym entforLoss
             in connection with any Claim m ade against any Insured
             alleging, arising out of, based upon, or attributable to the
             O rganization's orany Insured's perform ance of orfailure to
             perform professional services for others, or any actls),
             errorls)oromissionts)relatingthereto.
(DE 18-1at37).
111.   LEGA L STANDARD

       A. M otion to Dism iss

       To survive a Rule 12(b)(6)motion to dismiss,a plaintiffm ustplead sufficientfacts
to state a claim that is ''plausible on i
                                        ts face.'' Ashcroft 7. Iqbal,556 U.S.662,678

(2009)(quoting BellAtlantic Corp.e.Twombly,550 U.S.544,570 (2007)). Allfactual
allegations in the com plaint are accepted as true and aII reasonable inferences are

drawn in the plaintiffs favor. See Speaker ?.U.S. Dep'
                                                     f.of HeaIth & Hum an Seêvs.

Cfrs.forDisease Control& Prevention,623 F.3d 1371,1379 (11th Cir.2010).Although
a plaintiff need not provide ''detaiîed factualallegations,'the com plaint m ust provide

''more than labels and conclusions.'' Twombly,550 U.S.at555 (internalcitations and
quotations omitted). ''(A)formulaic recitation ofthe elements ofa cause ofactionwillnot
do.'' Id. Rule 12(b)(6) does not allow dismissalof a complaint because the court
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anticipates ''actualproofofthose facts is im probable,'butthe '
                                                              'Eflactualalîegations must
be enough to raise a rightto reliefabove the speculative Ievel.'' G alfs B.Fla.Int'lUniv.,

495 F.3d 1289 (11th Cir.2007)(quoting Twombly,550 U.S.at545). This plausibility
standard requires thatthe plaintiffplead enough facts to raise a reasonable expectation

thatdiscovery willrevealevidence ofthe defendant's Iiability. M iyahara ?.Vitacostcom ,

/nc.,715 F.3d 1257,1265 (11th Cir.2013).
      ln ruling on a m otion to dism iss,the Courfs consideration is generally confined to

the com plaintand the attachm ents. Zodjac Grp., lnc.?.Axis Surplus Ins.Co.,542 F.

App'x 844, 849 (11th Cir. 2013). However, under the incorporation by reference
doctrine,the Coud m ay considerextrinsic docum ents ifthose docum ents are centralto

the plaintiff's claim and theirauthenticity is notdisputed. Id. Although notattached to

Plaintiffs'com plaint,the padies agree thatthe com plaints in the Underlying Litigation

may be considered in ruling on the motions to dismiss (DE 25 at5 n.3;DE 36 at17
n.13). Ifthe exhibits incorporated by reference contradictthe generaland conclusory
allegations ofthe pleading,the exhibits govern. Crenshaw v.Lister, 556 F.2d 1284

(11thCir.2009).
      W hen considering insurance coverage disputes, Courts routinely dism iss

com plaints for failure to state a claim when a review ofthe insurance policy and the

underlying claim for w hich coverage is sought unam biguously reveals that the

underlying claim is notcovered. See,e.g.,Zodiac Grp.,542 F.App'x at845 (affirming
dism issalofcom plaintbecause the t'plain Ianguage ofthe Policy precluded coverage''

forthe underlying claiml;Band v.Twin City Fire Ins.Co.,No.8:11-cv-02332-EAKW MB,
2012 W L 1142396 at*4 (M.D.Fla.April4,2012)(granting motion to dismiss underRule


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 12(b)(6)because the underlying claims were ''unequivocally excluded''from coverage
based on a securities and rea! estate exclusionl; David Lerner Assocs., lnc.
Philadel
       phia Indem . Ins. Co.,934 F.Supp 2d 533,536 (E.D.N.Y 2013)aff'
                                            .                       d,542 F.
App'x 89 (2d Cir.2013)(granting motion to dismiss underRule 12(b)(6)because the
''unam biguous Ianguage ofthe professionalservices exclusion''applied to barcoverage

forthe underlying Iitigationl;Associated Cmty.Bancorp,Inc.e.Fhe Travelers Cos.,Inc.,
No.3:09-CV-1357 JCH,2010 W L 1416842,at*10 (D.Conn.Apr.8,2010)aff'd,421 F.
App'x 125 (2d Cir.2011)(granting 12(b)(6)motion to dismiss because the underlying
claim s fell''squarely w ithin an unam biguous reading ofeitherthe insolvency exclusion ..

  orthe professionalservices exclusionnl;MJCM, Inc.B.Hartford Cas.Ins.Co.,No.
8:09-CV-2275-T-17TBM,2010 W L 1949585 (M.D.Fla.May 14,2010)(granting motion
to dismiss under Rule 12(b)(6) on breach of contract claim because the underlying
Iawsuit was not covered under the insurance policy at issuel'
                                                            , Roberts v. Florida
Lawyers Mut.Ins.Co.,839 So.2d 843 (FIa.Dist.Ct.App.2003)(affirming dismissalof
breach of contract com plaintwhen policy did not provide coverage for the underlying

claiml;BrewerB.U.S.Fire Ins.Co.,446 F.App'x 506,508 (3d Cir.2011)(affirm ing
dismissalunderRule 12(b)(6)because employee indemnification exclusion precluded
coverage forunderlying suitl;ln re Chinese Manufactured DrywallProds.Liab.Litig.,
759 F,Supp.2d 822,835 (E.D.La.2010)(granting motionsto dismissbecause policies'
exclusions barred coverage and noting that 'dcouds in this circuit routinely consider

policy exclusions in resolving motions to dism iss''l; see also Titan Indem . Co. v.
 Travelers Prop.Cas.Co.ofAm .,181P.3d 303 (CoIo.Ct.App.2007)(granting motion to
dism iss and finding thatprofessionalservices exclusion was unam biguous and barred


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coverage forthe underlying claiml'
                                 ,Florida Farm Bureau Gen.Ins.Co.v.Ins.Co.of
North Am .,763 So.2d 429,432 (FIa.Dist.Ct.2000)(''Thus,the applicability ofpolicy
exclusions contained in a policy attached as an exhibitm ay be raised by a motion to

dism iss when the allegations of the com plaint clearly show that the exclusions do
appjy 1,).1()
      .




          B. Interpretation ofInsurance Policies

          The interpretation ofinsurance policies,Iike the interpretation of aIIcontracts,is

generallya question ofIaw.Lawyers Title Ins.Corp.v.JDC (Am .)Corp.,52 F.3d 1575,
1580 (11th Cir.1995). W hen interpreting an insurance policy,Florida couds ''stad with
the plain Ianguage ofthe policy,as bargained forby the padies.' Stafe Farm Fire &

Cas.Co.B.Steinberg,393 F.3d 1226,1230 (11th Cir.2004)(quoting Auto-owners Ins.
Co.7.Anderson,756 So.2d 29,34 (FIa.2000)). The 'Florida Supreme Coud has
m ade clearthatthe Ianguage ofthe policy is the m ost im portantfactor. UnderFlorida

law,insurance contracts are construed according to theirplain m eaning.'' Jam es River

Ins.Co.v.Ground Down Eng'
                        g,Inc.,540 F.3d 1270,1274-75 (11th Cir.2008)(internal
citations and quotations omitted) (quoting Taurus Holdings,Inc.e.United States Fid.
and Guar Co.,913 So.2d 528,537 (Fla.2005)).
          Thus, the Court interprets the policy Ianguage according to its '''everyday

m eaning'as itis 'understandable to the Iayperson.''' Ohio Cas.Ins.Co.?.Cont'
                                                                            lCas.

Co.,279 F.Supp.2d 1281,1283 (S.D.Fla.2003)(quoting Hrynkiw F.Allstate Floridian
10 Even construing the exclusion as an affirm ative defense, as the Trustees argue itshould be,a
'complaint may be dismissed under Rule 12(b)(6) when its own allegations indicate the
existence ofan affirm ative defense,so Iong as the defense clearly appears on the face ofthe
complaint.'Quillerv.BarclaysAm./credit,Inc.727 F.2d 1067,1069 (11th Cir.1984). ln this
m atter,determ ining w hetherthe exclusion applies to the underlying claim s does not require the
Coud to m ake any factualdeterm inations and the com plaint and the docum ents attached and
incorporated by reference provide a sufficientbasis forthe Courtto m ake an appropriate finding.
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 Ins.Co.,844 So.2d 739,741 (Fla.Dist.Ct.App.2003)). lf''the language used in an
 insurance policy is plain and unam biguous, a court m ust interpret the policy in

 accordance w ith the plain m eaning of the Ianguage used so as to give effect to the

 policy as written.'' Trale/ers Indem .Co.v.PCR Inc.,889 So.2d 779, 785 (FI
                                                                          a.2004).
                                                                                 ,
 see also Steinberg,393 F.3d at1230 (explaining thatthe courtmustread the policy as
 a whole and give every provision its fullmeaning and operative effect).This maxim
 applies to exclusions as well; if an exclusionary provision is unam biguous,the Coud

 m ustapply the exclusion as itis written. See DeniAssocs.ofFlorida,Inc.B.Slafe Farm

 Fire & Cas.Ins. Co.,711 So. 2d 1135, 1139 (FIa. 1998) ($'(A)court cannot place
 limitations upon the plain Ianguage ofa policy exclusion.nl'
                                                            ,Steinberg,393 F.3d at1230
 ('If(the policy)Ianguage isunambiguous,itgoverns.'').
       In accordance w ith the ''guiding principle'
                                                  ' that ''insurance contracts m ust be

 construed in accordance w ith the plain language ofthe policyj''only when the relevant

 policy Ianguage is ''susceptible to m ore than one reasonable interpretation, one

 providing coverage and the other Iim iting coverage''willthe Ianguage be considered

 am biguous and,thus,construed in favor of coverage. Swire Pac. Holdings, Inc. 7.

 Zurich Ins. Co., 845 So. 2d 161, 165 (FIa. 2003)*
                                                 ,Anderson, 756 So. 2d at 34
 ('Ambiguous insurance policy exclusions are construed againstthe drafterand in favor
 of the insured.n). ln order for this principle to apply, there m ust be a S'genuine
 inconsistency,uncedainty,oram biguity in m eaning'';the principle does ù
                                                                        'notallow couds

 to rew rite contracts,add m eaning thatis notpresent,orotherwise reach results contrary

 to the intentions of the padies.'' Swire Pac. Holdings, 845 So.2d at 165'
                                                                         , see also

 Jefferson Ins.Co.ofNew York v.Sea W orld ofFlorida,Inc.,586 So.2d 95,97 (FIa.


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Dist, Ct. App. 1991) (Couds are not authorized llto put a strained and unnatural
construction onthe termsofapolicy in orderto create an uncertaintyoram bigui
                                                                           tyn).
      And even if a provision is com plex and requires analysis, this fact does not

renderthe provision am biguous. Swire Pac.Holdings,845 So.2d at 165 Likew ise,
                                                                            .




'ltlhe lackofa defini
                    tion ofan operative term in a policy does notnecessarily renderthe
term am biguous and in need ofinterpretation by the courts.'' Id.at 166. ''To properly

interpretan exclusion in a policy,the exclusion m ust be read togetherwith the other

provisions ofthe policy and from the perspective of an ordinary person.'' 8ofee B. S.

Fid.Ins.Co.,No.5013-3235,2015 W L 477836,at*2 (Fla.Dist.Ct.App.Feb.6,2015).
Finally,in interpreting an insurance policy,the Coud is m indfulthatthe insured bears

the burden ofproving thata claim againstitis covered by the insurance policy,whereas

the insurer bears the burden of proving an exclusion to coverage applies. Northland

Cas.Co.v.HBE Corp.,160 F.Supp.2d 1348,1358 (M .D.Fla.2001).
      C. The Duty to Defend orAdvance Defense Costs

      The Policies at issue do not contain a traditionalduty to defend'
                                                                      ,instead, the

Policies obligate the Insurers to advance defense costs:

             (T)he lnsurer shall advance, excess of any applicable
             retention am ount, covered Defenses Costs no Iater than
             ninety (90) days after the receipt by the Insurer of such
             defense bills....The Insurerdoes not,however,underthis
             policy,assume any duty to defend.

(DE 18-1at16)(emphasis added).
      G enerally,couds have dlviewed an insurer's duty to advance defense costs as an

obligation congruentto the insurer's duty to defend,concluding thatthe duty arises ifthe

allegations in the com plaintcould,ifproven,give rise to a duty to indem nify.'' Fed.Ins.

Co.v.Sammons Fin.Grp.,Inc.,595 F.Supp.2d 962,976-77 (S.D.Iowa 2009),
                                                                   .see,
                                          13
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e.g.,Acacfa Research Corp.v.Nat'lUnion Fire Ins. Co.ofPittsburgh,PA,No.05-501,

2008 W L 4179206,at *11 (C.D. Cal.Feb. 8,2008) (''EA)s with a duty to defend,
Defendant's duty to advance defense costs arose on tender of a potentially covered

claim .'');Hurley B.Columbia Cas.Co.,976 F.Supp.268,275 (D.Del.1997)(''(T)here
does notexist a significant difference between the duty to defend and the prom ise to

advance defense costs,otherthan the difference between who willdirectthe defense '
                                                                                 'l;
                                                                                   .




Am .Chem.Soc.v.Leadscope,Inc.,No.04AP-305,2005 W L 1220746,at*4-8 (Ohio
Ct.App.May24,2005)(concluding thata S'pleadingstest'has been consistentlyapplied
in cases seeking to establish an insurer's duty to defend and duty to advance defense

costsl;Julio & Sons Co.v.Travelers Cas.& Sur.Co.ofAm.,591 F.Supp.2d 651,660
(S.D.N.Y.2008)(''(T)he Courtfinds that,forthe purposes ofthis motion,there are no
m aterial differences between a duty to defend and a duty to advance Defense

Expenses.'l'
           , See Barry R. Ostrager & Thomas R. Newman, Handbook on Ins.
Coverage Disputes,j 20.06),at1615-161(16th ed.)(collecting cases).
      As the Honorable Judge W illiam Hoevelerexplained,''laln insurer's obligation to
advance defense expenses is not m aterially different from a duty to defend.''

MapleWood Partners,L.P.7.Indian Harbor Ins.Co.,295 F.R.D.550,601 (S.D.Fla.
2013). UnderFlorida Iaw,an insurer's duty to defend its insured againstlegalaction
depends solely on the facts and Iegaltheories alleged in the pleadings and the claim s

againstthe insured.JDC (Am .)Corp.,52 F.3d at1580.Accordingly,the duty to defend
is determ ined by com paring the allegations contained within the four corners of the

com plaintw ith the Ianguage ofpolicy. See Jones v.Florida Ins.Guar.Ass'n Inc.,908

So.2d 435,443 (Fla.2005).
                        ,Philadelphia lndem.Ins.Co. F. Yachtman's Inn Condo


                                         14
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Ass'n, lnc., 595 F. Supp, 2d 1319, 1322 (S.D. Fla. 2009)'
                                                        , Mccreary v. Florida
ResidentialProp.& Cas.Joint Underwriting Ass'n, 758 So.2d 692,695 (Fl
                                                                    a.Dist.Ct.
App.1999)('(T)he dutyofan insurerto defend isdetermined sole/y by the allegationsof
the com plaintagainstthe insured and an insurerhas no duty to defend a suitagainstan

insured ifthe com plaintupon its face alleges a state offacts thatfails to bring the case

within the coverage of the policy.'') (em phasis in original). lfthe relevant pleadings
allege facts that ''
                   fairly and potentially bring the suit within policy coverage,'then the

insurer m ustdefend the action regardless ofthe m erits ofthe Iawsuit. Jones,908 So.

           ,see also JDC (Am .) Corp.,52 F.3d at1580. Any doubts regarding the
2d at442-43*
duty to defend m ustbe resolved in favorofthe insured. Jones,908 So.2d at443. But

ifthe pleadings show thatthere is no coverage orthata policy exclusion applies to bar

coverage, the insurer has no duty to defend. M aryland Cas. Co. v. Florida Atl.

Orthopedics,P.L.,771F.Supp.2d 1328,1332 (S.D.Fla.2011)aff'd,469 F.App'x 722
(11th Cir.2012).
               ,Keen v.Florida Sheriffs'Self-lns.,962 So.2d 1021,1024 (FIa.Dist.Ct.
App.2007)(''(I)fthe pleadings show the applicabili
                                                 ty ofa policy exclusion,the insurer
has no duty to defend.nl;Reliance Ins.Co.v.RoyalMotorcarCorp.,534 So.2d 922,
923 (FIa.Dist.Ct.App.1988)(llThere is no obligation on an insurerto defend an action
against its insured when the pleading in question shows the applicability of a policy

exclusion.n).
IV.   ANALYSIS

      1. The Coblent Agreem ent

      The padies spend considerable podions oftheir briefs addressing whetherthe

$50 m illion settlementand Cob/enfz agreementconstitutes a ''Loss''wi
                                                                    thin the meaning


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 of the Policies. However, the ability to recover against an insurer for a Coblentz

agreem ent is predicated on the insurer having breached its obligations to its insured

 underthe insurance policy. See Chom atB. N.lns.Co.ofNew York,919 So.2d 535,

537 (FIa. Dist.Ct.App.2006) (d'
                              W here an injured party wishes to recover undera
 Coblentz agreement,the injured pady must bring an action againstthe insurer and
prove coverage,wrongfulrefusalto defend,and thatthe settlem entwas reasonable and

made in good faith.'')(internalquotations omittedl'
                                                  ,Sinniv.Scottsdale Ins.Co.,676 F.
Supp.2d 1319,1324 (M.D.Fla.2009),as amended (Jan.4,2010)(''In Florida,a pady
seeking to recover under a Coblentz agreement m ust prove: (1) coverage; (2) a
wrongfulrefusalto defend'
                        ,and (3)thatthe settlementwas objectively reasonable and
made in good faith.nl'
                     ,Stephens ?.Mid-continentCas.Co.,749 F.3d 1318,1322 (11th
Cir.2014)(to recover undera Coblentz agreement,the plaintiffmustshow thatthe
insurerwrongfully refused to defend and thatthe settlem entwas reasonable and m ade

ingood-faith).
       Consequently,''the determ ination of coverage is a condition precedent to any

recovery againstan insurerpursuantto a Coblentz agreem ent.'' Sinni,676 F.Supp.2d.

at1324. t'Indeed,the mere entry ofa consentjudgmentdoes notestablish coverage
and an insurer's unjustifiable failure to defend the underlying action does notestop the
insurerfrom raising coverage issues in a subsequentsuitto satisfy a consentjudgment
entered pursuantto a Coblentz agreement.'' Id. Regardless ofw hetherthe Coblentz

agreem entconstitutes a Loss underthe Policies,the Courtm ustfirstdeterm ine w hether

the Insurers w rongfull
                      y refused to advance defense costs and w hether the Policies

provided coverage forthe Underlying Litigation. Accordingly,the Coud's analysis turns


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 to whether the lnsurers breached their obligations under the Policies in declining

 coverage forthe Underlying Litigation.

        2. The ProfessionalServices Exclusion

        The Policies contain a ''Professional Errors & O m issions Exclusion'' w hich

 provides thatthe Insurer:

               shall not be Iiable to m ake any payment for Loss in
               connection with any Claim m ade against any Insured
               alleging, arising out of, based upon or attributable to the
               O rganization's orany Insured's perform ance of orfailure to
               perform professional services for others, or any actts),
               erroqs),oromissionts)relating thereto.
 (DE 18-1 at37). The parties dispute whetherthe exclusion appliesjointly and whether
the exclusion bars coverage forthe Underlying Litigation.

              A. The ProfessionalServices Exclusion Applies Jointly to Any Claim
                 AgainstA ny lnsured

        Before addressing whetherthe ProfessionalServices Exclusion bars coverage,

the Coud addresses Plaintiffs' argum ent that the professionalservices exclusion is

 several. Plainti
                ffs,in a contorted reading ofthe plain Ianguage of the Policies,argue

that the ProfessionalServices Exclusion only bars coverage for a Claim if each and

 every officeris alleged to have performed professionalservices,as opposed to the plain

 reading ofthe exclusion as barring coverage fora Claim ifeven one officeris alleged to
 have perform ed professional services 11   .        Despite Plaintiffs' efforts to create an


 11Plaintiffs argue thattheirinterpretation is a reasonable one. The Coud disagrees. In orderfor
 a provision to be am biguous,the language m ust be susceptible to m ore than one reasonable
 interpretation. 'IAn unreasonable reading of an insurance policy provision does not create an
 am biguity that m ust be construed m ostfavorably to the insured.' Roberts v.Florida Lawyers
 Mut.Ins.Co.,839 So.2d 843,846 (FIa.Dist.Ct.App.2003). The Courtmay notputa i
                                                                            'strained
 and unnatural construction on the term s of a policy in order to create an uncedainty or
 ambi guity.'JeffersonIns.Co.ofNew York v.Sea World ofFlorida,/nc.,586So.2d95,97 (FIa.
 Dist.Ct.App.1991).  ,GroundDown,540 F.3d at1274 (quoting Tatpr&s,913 So.2d at532)(The
                                                17
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 am biguity in the professionalservices exclusion,the Courtfinds thatno such am biguity

 exists'
       ,the exclusion is 'clearand plain,som ething only a Iawyer's ingenui
                                                                          ty could m ake

 am biguous.'' Dim m ittChevrolet,Inc.v.Se.Fid.Ins.Corp.,636 So 2d 700,704-05 (Fl
                                                                      .         a.
 1993)(analyzing a pollutionexclusion).
       A plain reading ofthe ProfessionalServices Exclusion dem onstrates thatit bars

 coverage for any Claim m ade against any lnsured arising out of any Insured's

 perform ance orfailure to perform professionalservices forothers. The exclusion is not

 Iimited in its application to each insured's performance;instead,itjointl
                                                                         y bars coverage
 for aIIinsureds for any Claim arising out of any insured's performance or failure to

 perform professional services. Couds have agreed that ''the phrase 'any insured'

 unambiguouslyexpressesa contractualintentto createjointobligations.''Sales v.State
 Farm Fire & Cas.Co.,849 F.2d 1383,1385 (11th Cir.1988)*
                                                       ,seete.g.,USAA Cas.Ins.
 Co.B.Gordon,707 So.2d 1185,1186 (FIa.Dist.Ct.App.1998)(when policy did not
 containseverability clause applicable to coverage part,$
                                                        '(w)e have no trouble concluding
 that exclusion (h),which excludes coverage for dam age caused by çany insured,'
 unambiguously results in jointproperty coverage in this case.'')(emphasis in originall;
 State Farm Fire & Cas.Ins.Co.v.Kane,715 F.Supp.1558,1561-62 (S.D.Fla.1989)
 (analyzing exclusion thatbarred coverage forcriminalacts done by ''any insured''and
 holding S'
          that the exclusion in the policy before this Court applies to a// insureds'')
 (em phasis in originall;see also Kattoum v.New Hampshire Indem .Co.,968 So.2d
 602,606 (FIa.Dist.Ct.App.2007) (Casaneuva,J., Levens,J.concurring) (''If the


 Coud 'may notrewri   te (the)contractl),add meaning thatis notpresent,orotherwise reach (a)
 resultl)contrarytothe intention ofthe padies,''in an effod to find coverage. .'). Asexplained
 infra,Plaintifrsargumentwould require the Courtto dojustthat.
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 exclusion was sim ply dany insured,'lwould read itto exclude coverage forallinsureds

 because itapplied to atIeastone ofthe insureds '
                                                'l.lz
                                                  .




       The Court's conclusion that the exclusion applies jointly to bar coverage is
consistentw ith a reading ofthe Policies as a whole W hen the insurance Policies apply
                                                      .




severally as to each lnsured,the Policies so specify by using the term ''such insured ''  .




As Plaintiffs correctly note, ''Iiln order to trigger coverage, a Claim must be made
againsta specific Insured Person forthatspecific Insured Person's W rongfulAct. The

 Insuring Agreem entis clearthatcoverage is uniquely dependenton the alleged conduct

ofeach Insured.''(DE 36 at 15). This is because the Ianguage ofcoverage grantis
explicitly several'
                  .

              The policy shallpay the Loss ofany Insured Person arising
              from a Claim made against such Insured Person for any
              W rongfulActofsuch Insured Person...

(DE 18-1 at1)(emphasis added).The Policies consistently indicate when a provision is
intended to applyseverallyorjointly. Forexample,cedain exclusions are subjectto the
following severability provision'
                                .

              For the purpose of determ ining the applicability of the
              foregoing Exclusions 4(a)through 4(c) and Exclusion 4(9:
              (1)the facts pedaining to and knowledge possessed by any
              Insured shallnotbe im puted to any otherInsured Person ...



12 See a/so Thoele v. Aetna Cas.& Sur,39 F.3d 7241727 (7th Cir.1994)($     'The districtcourt
w as quite rightto conclude thatthe choice ofthe word 'any'broadened the exclusion to include
injuriestriggered by one insured in connectionwith the business pursuitofanother.''l;Coregis
Ins.Co.v.Mccollum,961 F.Supp.1572,1579 (M.D.Fla.1997)(dcouds have agreed that,
unlike the phrase 'the insured,' the use of the phrase tany insured' in a policy exclusion
unambiguouslyexpressesacontractualintenttocreatejointobligationsandto prohibitrecovery
by an innocentco-insured.'l'
                           ,AxisReinsurance Co.v.Bennett,No.07 CIV.7924 (GEL),2008
W L 2485388,at*15 (S.D.N.Y.June 19,2008)(''(IJtis wellestablished thatthe Ianguage 'any
insured'has been consistently interpreted as expressing a contractualintentto create joint
obligations'').
                                            19
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 (DE 18-1 at8). Anotherexplicitseverability provision appears in Endorsement#14 of
 the policywhich relatesto the insurance application (DE 18-1 at45). However,no such
 severability provision exists with respect to the ProfessionalServices Exclusion nor

 does the ProfessionalServices Exclusion itselfcontain any Ianguage indicating itought

 to apply severally. Therefore, contrary to Plainti
                                                  ffs' argum ent, the fact that cedain

 exclusions are expressly subjectto a severabili
                                               ty clause is notindicia thatthe other
 exclusions are also several--itis additionalindicia thatthey are not.

        M oreover, Plaintiffs have failed to provide any precedent from any court to

 suppod their contention than an am biguity exists and that the ProfessionalServices

 Exclusion applies severally, padicularly in the absence of a specific severability

 provision.13 See Swire Pac Holdings, 845 So. 2d at 166 (finding exclusion
                                   .




 unambiguous and noting thatthe plaintiff''
                                          failled),however,to provide precedentfrom
 any coud,oreven conflicting definitions forthe term s,to suppod its contention thatan

 ambiguity existsn). Based on the plain Ianguage ofthe exclusion,the Courtfinds that
 the ProfessionalServices Exclusion applies jointly. Thus,i
                                                          fthe Claim forwhich the
 Insureds seek coverage arises from any Insured's perform ance or failure to perform

 professionalservices for others,there is no coverage underthe policy for any ofthe
 insureds, even ifsuch allegations are only made against a single insured.14 Ajthough

 not addressed by the parties at length,regardless of whether the exclusion applies



 13 The case prim arily relied upon by Plaintiffs is inapposite. In G reatAm . Ins. Co. v. G eostar
 Corp.,No.09-12488-8C,2010W L845953,at*12-13 (E.D.Mich.Mar.5,2010),the underlying
 Travelers policy contained a d'specific severability provision in the exclusions provision.'' ln the
 instantcase,no such severability provision exists.
 14 As explained infra, even if the exclusion applied severally, the exclusion w ould still bar
 coverage because the Underlying Litigation contains allegations that each of the Insureds
 perform ed,orfailed to perform ,professionalservices forothers.
                                                 20
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jointly orseverally as to the directors,the exclusion also bars Claims arising outofthe
Organization's(Gibraltar's)performance oforfailure to perform professionalservicesfor
others,orany actts),errorts),oromissionts)relating thereto.(See DE 18-1at37).
             B. The Professional Services Exclusions Bars Coverage for the
                Underlying Litigation
      Although the term 'professionalservices''is undefined in the Policies,the Court

concludes that the term is unam biguous and that banking services constitute

professionalservices. W hether an act arises from the perform ance of a professional

service is determ ined by focusing on the padicular act itself, as opposed to the

characterofthe person pedorm ing the act. Estate of Tinervin v.Nationwide M ut.Ins.

 Co.,23 So.3d 1232,1237 (FIa,Dist.Ct.App.2009).The ''majority ofcoudsto address
the issue have concluded thatthe term 'professionalservices'unam biguously refers to

services unique to a speci
                         fic profession.' St.PaulFire & M arine Ins.Co.7.ERA Oxford

Realty Co. Greystone, LLC, 572 F.3d 893, 898-99 (11th Cir. 2009) ('professional
services generally refers to those serves involving specialized knowledge, Iabor or

skiII.''). Accordingly,professionalservices are those services performed by persons
who belong to a Iearned profession or which require specialized skills, training, or

experience. See,e.g.,Auto-owners Ins.Co.B.E N.D.Servs.,Inc.,506 F.App'x 920,

925 (11th Cir.2013)(despite thefactthatthe policydid notdefine professionalservices,
professionalservices exclusion was unambiguous and barred coveragel;Evanston Ins.
 Co.F.BudgetGrp.Inc.,199 F.App'x 867,868 (11th Cir.2006)('$The term 'professional'
refers to persons who belong to a Iearned profession orwhose occupations require a

high Ieveloftraining and proficiency.'').



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        ''
         W hen an insurance contract fails to explicitly define the term 'professional

 services,' Florida Couds have considered, am ong other things, whether the service

 involves specialized skill,requires specialized training, is regulated,requires a degree,

 and/orwhetherthere is an entity that cedifies or accredits persons or that sets forth

 standards ofpractice forthe performance ofthose services.'' Auto-o wners Ins Co.v.   .




E N.D.Servs.,Inc.,No.8:10-CV-2387-T-30EAJ,2011 W L 6319189,at*4 (M .D.Fla.
 Dec.15,2011)aff'd,5O6 F.App'x 92O (11th Cir.2013). Banking is a learned profession
which requires specialized skill,training,and knowledge,and which is regulated by the

 state and federal governm ents. As such, the Court concludes that banking and
 banking-related services constitute professionalservices.ls

       Indeed, the padies do not appear to dispute that banking services are

 professionalservices within the m eaning of the exclusion'
                                                          ,rather,Plainti
                                                                        ffs argue that

the Underlying Litigation arises out of ''purely internal m anagem ent and regulatory

functions - notservices forothers.'' (DE 36 at17).The question,therefore,iswhether

 15 see Bank of California, N.A.v.Opie,663 F.2d 977,982 (9th Cir.1981)(the activitiesofa
 m odgage banker, including the m anagem ent of Ioan proceeds and credi
                                                                      t,and the ability to
secure suffici
             entfinancing,were professionalservicesl;Ferre Ha&le FirstNat.Bank v.Pac.
Employers Ins. Co.,634 N.E.2d 1336, 1339 (Ind. Ct.App. 1993) (professionalservices
exclusion barred coverage w hen com plaintalleged thatthe bank failed to protectthe interests of
the plainti
          ff,thatbank was negligent,and thatthe bank had breached its fiduciary duty because
the claim s arose from allegations that the bank failed to adequately render a professional
 service to a customerl;Slale Sl.Bank & TrustCo.ofQuincy,Illinois v.INA Ins.Co.ofIllinois,
 207 111.App.3d 961(1991)(bank'sactionsrelatingto a Ioanconstituted professionalservicesl;
 Neighborhood Hous.Servs.ofAm.'   :Inc.v.Turner-Ridley,742 F.Supp.2d 964,971 (N.D.lnd.
 2010)(professionalservices excluslon barred coverage forinsured,s actions when insured was
 alleged to have breached theircontractualduty to collect paym ents!segregate funds,m aintain
accurate records,and make accurate repods to Ioan payoffs.l;Davld LernerAssocs.,Inc.,934
F.Supp.2d at536 (E.D.N.Y.2013)afrd,542 F.App'x 89 (2d Cir.2013)(individuals involved in
the due diligence and sale offinancialproducts are engaged in professionalservicesl;Pl  per
JaffrayCos.,Inc.v.NationalUnionFire Ins.Co.ofPittsburgh,Pa.,967F.Supp.1148(D.Minn.
1997) (alleged failure to prudently manage investor's assets fellwi
                                                                  thin professionalservices
exclusionl',cf,Rosnerv.BankofChina,528 F.Supp.2d 419,431(S.D.N.Y.2007)(describing
the provision ofbanking servicesthataided in afraudulentscheme as a professionalservice).
                                              22
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 the Claim s - i.e.,the com plaints - arose outof any insured's perform ing, orfailing to

 perform ,professionalservices for others l6 In determ ining whetherthe allegations in
                                            .




 the Underlying Litigation potentially triggerthe Insurers'obligations underthe Policies,

the Coud is cogni
                zantthat''the phrase 'arising outof'is notam biguous and should be

 interpreted broadly.'' Ground Down,540 F,3d at1275 (citing Taurus Holdings Inc.,913
 So.2d at539). As the Florida Supreme Courtdeclared,'Itlhe term Sarising outof'is
 broaderin m eaning than the term 'caused by'and means 'originating from ,''having its

origin in,''growing out of,''flowing from ,'tincident to'or 'having a connection w ith.'''

 Taurus Holdings,913 So.2d at539. ''To have arisen outofsom ething,there m ustbe

 'som e causalconnection,or relationship'that is 'm ore than a m ere coincidence'but

 proxim ate cause is not required. The phrase 'arising out of' contem plates a m ore

 attenuated Iinkthan the phrase 'because of.''' Ground Down,540 F.3d at1275 (internal
 citations omitted) (quoting Taurus Holdings, 913 So.2d at 539-540). The Court's
 analysis is Iim ited to the allegations and theories in the Underlying Lawsuits and the

 policy Ianguage to determ ine whether the Underlying Law suits allege facts thatfairly
 and potentiall
              y bring the suitwithin policy coverage 17
                                                     .




       The D&O Action asserts fourclaims against John Harris,Charles Sanders,and

 Lisa Ellis: (1)Aiding and Abetting Breach of Fiduciary Duty;(2)Aiding and Abetting
 16 Plainti
          ffs concede that the professional services exclusion 'applies to a Claim , which is
defined toencompassthe entiretyofacivilproceeding commencedagainstthe insureds.''(DE
35 at16).
IZ As discussed sfppra, the Coud willapply a 'duty to defend''standard in determ ining whether
there is a potentiality forcoverage underthe Policies,notw i
                                                           thstanding the factthatthe Policies
contain a duty to advance defense costs rather than a traditionalduty to defend. The Court
notes that this standard is the m ost favorable standard of review for the Insured and the
 standard whichthe Plaintiffsargue should be applied (see DE 74 at3-4). Because the dutyto
 defend is broaderthan the duty to indem nify,a coud's determ ination that the insurer has no
 duty to defend also requires a finding that there is no duty to indem nify and,therefore, no
 coverage underthe policy. Yachtm an's Inn Condo Ass'  n,Inc.,595 F.Supp.2d.at1322.
                                                23
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 Conversion'
           ,(3)Negligence'
                         ,and (4) Gross Negligence. (DE 25-1.) The D&O Action
 alleges,interalia,thatl8'

      . Charles Sanders,John Harris and Lisa Ellis 'acted within the scope ofhis Ior
        her)authority as an officer...ofGibraltar,and othe- ise actively supervised,
          m anaged, and/or controlled the various RRA/Rothstein related banking
          relationships (DE 25-1at11115-7).
      * Rothstein,through key G ibraltar em ployees including Senior Vice President
        Harris and Vice President Ellis,Ieveraged his relationship to coverpersistent,
        sizeable account overdrafts and gained unfettered access to the transfer of
        money from RRA trustaccounts into RRA operating accounts and then outto
          Rothstein's personalaccounts (/d.1129).
      * These ''special accom m odations'' provided Rothstein the necessary
        oppodunity to circulate m oney from the Ponziusing Harris, Ellis, and other
          Gibraltaremployees asteam players ...(Id.1130).
      * Gibraltar, w ith the know ledge and active padicipation of Harris, Ellis, and
        Sanders provided the means used by Rothstein and RRA to fillthe hole of
        substantialrecurring account balance deficits through regular extensions of
        credit,by extending significant overdrafts . . .thereby enabling Rothstein to
          perpetuate the Iife ofhis Ponzischeme (Id.!132).
      . Defendants19, acting ataIltim es w ithin the scope and authority oftheirduties
        and responsibilities at Gibraltar,substantially assisted and enabled Rothstein
        to perpetuate the Iife ofhis Ponzischem e by,am ong otherthings:
            o Continuously extending substantialcreditto Rothstein and RRA in the
               form ofoverdraftprotection so thatthey could covershortfalls.
               Modifying or ignoring its own internal policies, procedures, practices
               and protocols in orderto accomm odate Rothstein and RRA,who were
               funneling m any m illions of dollars through their accounts, G ibral tar
               Covered enorm otls Overdrafts.
            o Advising, assisting, and coaching Rothstein on how to avoid actions
               that would triggerthe filing of internaloverdraft reports w hich in turn
               would orshould have triggered the filing federally-m andated suspicious
               activity,check-kiting,and related reports.
               Assisting, enabling, and perm itting Rothstein to m ake substantial
               recurring transfers between trust,business and personalaccounts,and


  In addition to the paragraphs identified below , the Court relies on the allegations of the
Underlying Litigation as a w hole,with additionalfocus on paragraphs 18,31,34,37,41,45,57,
58,60,68,76,80,81,86 and 92 ofthe D&O Action.
19The term Defendants refers to Sanders, Harris,Ellis and G ibraltar.
                                            24
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                for personalexpenses without regard to the source ofthe funds or to
                theirstated purpose and to m isappropriate trustaccountbalances..            .

              o Im properly overriding internal risk, com pliance, and fraud prevention
                concerns for the purpose of preserving the banking relationship with
                  Rothstein (/d.% 36).
 (DE 25-1).20
        Likewise,the draftam ended M orse com plaintalleges,interaliaï

       * G ibraltarem ployees assisted Rothstein in avoiding detection by assisting him
         in concealing repeated and substantial overdrafts, and concealing
         inappropriate usage offunds held in trust...As an exam ple,John Harris ...
         em ailed Rothstein in 2007 imploring him to reduce his overdraftin one account
         because it was ''stading to show up on the wrong repods.'' On num erous
         occasions, Gibraltar em ployees prom pted Rothstein of overdraft issues and
         advised him on how he could m ove m oney around from clienttrustaccounts to
         otheraccounts to avoi  d detection (DE 73-11115).
                                               .           21

       * Ellis,instead oftaking steps to investigate orstop the overdrafts,was a key
         figure in assisting Rothstein's concealment of same. Lisa Ellis frequently
         em ailed Rothstein, Debra Villegas and Irene Shannon to propose shuffling
         m oney from one RRA account to another to cover overdrafts and avoid
         scrutiny....Ellis failed to inquire into Rothstein's activities,failed to prevent
         unlawfuldiversions' ,and failed to im pose restrictions on Rothstein's banking
           activi
                ties. (Id.!1$ 162-165).
       . Haywodh disregarded obvious warning signs, red flags,and overtwarnings
         from som e subordinates,and directed his subordinates to cultivate,and not
           damage the relationshipwith Rothstein.(/d.11180).
        Looking solely at the allegations in the operative com plaints and the plain

 Ianguage ofthe Policies,the Courtfinds thatthe ProfessionalServices Exclusion bars


 20 The draq D&O Action contains substantiatly sim ilar allegations, w i th additionalallegations
 againstHayworth. For exam ple,the draftD&O Action alleges that''Steven D.Hayworth acted
 w ithin the scope ofhis authority as an officer...ofG ibraltar,and otherwise actively supervised,
 managed,and/orcontrolledthe various RRA/Rothstein related banking relationships'  '(DE 71-2
 117). It also alleged that Gibraltar,with the knowledge and active padicipation of Haywodh,
 Harris, Ellis and Sanders,provided the m eans used by Rothstein and R RA to fillthe hole of
 substantialrecurring account balance deficits through regularextensions ofcredit,by extending
 significantoverdrafts ...thereby enabling Rothstein to perpetuate the Iife of his Ponzischem e
 (DE 71-21133).
 21Harris1Ellis1Sanders, and Hayw orth are each alleged to have 'Iknow ledge ofaIIthe facts and
 circumstances'
              'inparagraph 15(DE 73-1IN 153,161,169,177).
                                               25
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 coverage forthe Underlying Litigation because the conduct alleged in the complaints,
including each countasserted againstthe officers, arise outof,orare attributable to,the

 Insureds' perform ance, or failure to perform , professional services for others. The

com plaints in the Underlying Litigation are replete with factualallegations regarding the

professionalservices, nam ely banking services, perform ed by Harris, Ellis, Sanders,

Hayworth,and G ibraltarforthe benefitofRothstein and the RRA accounts.

       Plaintiffs'contention that the Underlying Litigation arises out of upurely internal

managementand regulatory functions- notservices forothers,''(DE 36 at17)is belied
by a com m on sense reading of aIIofthe allegations in the Underlying Litigation. As

outlined above,the Underlying Litigation and the conductdescribed therein indisputably

arises out of the directors' and Gibraltar's performance of professional services for

Rothstein, A review ofthe Underlying Litigation shows thatany failure by G ibraltarorits

officers to com ply w ith internalm anagementprocedures orto perform cedain regulatory

functions w as done in order to preserve the Rothstein accounts and to facilitate

Rothstein's business,and therefore those failures constitute professionalservices for

others.22 see M DL CapitalM gm t., Inc.v.Federa/Ins.CO.,274 F.App'x 169,173 (3d
Cir.2008) (finding that plaintiffs'argument that directors were not alleged to have
perform ed professional services because the com plaint alleged d'inaction, Iack of

diligence and oversight,and failure to intervene ...(which)caused the overleveraging
of the Fund's assets''w as meritless because the claim s stem m ed from the director's



22 (See,e.  g. ,DE 25-1 at!136 ('  dModifying orignoring its own internalpolicies,procedures,
practices and protocols in orderto accom m odate Rothstein and RRA ,w ho were funneling m any
m illions ofdollars through theiraccounts,G ibraltarcovered enorm ous overdrafts...Im properly
overriding internalrisk,com pliance,and fraud prevention concerns forthe purpose ofpreserving
thebankingrelationship with Rothstein.nj(emphasisaddedl).
                                            26
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 failures as investm entm anagers and therefore arose from the providing of, orfailure to

 provide,professionalservicesl;David LernerAssocs.,934 F.Supp.2d at536 (E.D.N.Y.
 2013)aff'd,542 F.App'x 89 (2d Cir.2013)(the failure to engage in due diligence in
 connection with the sale offinancialproducts were quintessentialactions and inactions

 falling within the definition ofprofessionalservices such thatexclusion barring coverage

 forperformance orfailure to perform professionalservices forothers appliedl;Colony
 Ins.Co.?.SuncoastMed.Clinic,LLC,726 F.Supp.2d 1369,1377 (M.D.Fla.2010)
 (implementing policies and procedures are an intricate partof professionalservices
 which can trigger a professionalservices exclusionl;Piper Jaffray Co., Inc.,967 F.
 Supp.at1156 (applying professionalservices exclusion to barcoverage and rejecting
 plaintiffs'contention ''unsupported by a shred of relevantcase Iaw''thatfailure to follow

 accounting procedures and engaging in inadequate or false repoding were not

 professionalservices).
        Even i
             f allegations existed relating solely to 'purely internalm anagement and

 regulatory functions,''the Policies would stillbarcoverage because,as alleged in the

 Underlying Litigation, any such functions constitute ''actts), errorts),or omissionts)
 relatingt'to professionalservices performed by the D&O Defendants or G ibraltarfor

 Rothstein and the RRA Accounts. A review of the Underlying Litigation makes clear

 thatthe actions identified by Plaintiffas ''allegations in the FAC failure to perform purely

 internalmanagementand regulatory functions''(DE 36 at 17-18)were undertaken in
 orderto ''substantially assistl)and enablel)Rothstein to perpetuate the Ii
                                                                          fe ofhis Ponzi
 scheme.' (See DE 25-1% 36). Thus,considering the plain language ofthe policiesand
 the allegations in the Underlying Litigation,the Underlying Litigation is unequivocally


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 excluded from coverage because the Claim s arose out of '
                                                         dthe Organization's or any

 Insured's performance oforfailure to perform professionalservices for others, orany

 actts),errorts),oromissionts)relatingthereto.''(DE 18-1 at37).
              C. The Insurance Policies are NotIllusory

        In the alternative,Plaintiffs argue thatifthe ProfessionalServices Exclusion bars

 coverage for the Underlying Litigation,the Policies are illusory because the Policies

 then ''treatl)Gibraltar's entire business as a service and any flawed business conduct
 covered by the D&O coverage as within the E&O exclusion.'' (DE 36 at18).23 Under
 Florida Iaw,w hen policy provisions,Iim i
                                         tations,orexclusions com pletely contradictthe

 insuring provisions, the insurance coverage is illusory. Colony Ins. Co. v. Total

 Contracting & Roofing,Inc.,No.10-23091-CIV,2011W L 4962351,at*5 (S.D.Fla.Oct.
 18,2011). No such contradictionexists here.
        The Policies provide coverage for m any Claim s that would not involve

 professional services for others. For exam ple, the Policies provide coverage for

 wrongfulterm ination claim s,harassm entclaim s,retaliation claims,and negligenthiring,

 training,retention,and supervision claims (see DE 18-1 at3). Likewise,the policies
 provide coverage forsecurities claims made againstany insured (see DE 18-1 at5).
 Couds considering substantially sim ilarpolicies and businesses have agreed thatsuch

 policiesare notillusory. See Tum er-Ridley,742 F.Supp.2d at973 (rejecting argument
 that'tbecause (the insured's)core business practices constitute professionalservices'
                                                                                     '
 the policy was illusory and finding that the policy llcovers many reasonably expected



 23 Al
     though not relevant to nor considered in the Coud's coverage determ ination, the Coud
 notes that a com plem entary tow er of coverage existed for professionalerrors and om issions
 which contributed $10 million to the settlementofthe Underlying Litigation.
                                               28
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 circumstances that would not involve professional servicesnl'
                                                             , Associated Cmty.
 Bancorp, Inc., 2010 W L 1416842, at *10 (rejecting plaintiffs' argument that the
 professionalservices exclusion eviscerated the policy because every action taken by a

 bank invol
          ves professionalservices).
 V.      CO NCLUSIO N

         For the foregoing reasons, the Court finds that the professional services

 exclusion unam biguously bars coverage for the Underlying Litigation. Consequently,

 the Insurers'motions to dismiss (DE 25,28)are GRANTED and the claims againstthe
 lnsurers are DISM ISSED W ITH PREJUDICE.

         DO NE AND O RDERED in cham bers in M iam i, Florida,this        day of M ay,

 2015.


                                               KA   EE M .W ILLIAM S
                                               UNITED S ATES DISTRICT JUDG E




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